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     CANDACE GONZALES
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 9                  IN THE UNITED STATES DISTRICT COURT
10              FOR THE EASTERN DISTRICT OF CALIFORNIA
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12
     UNITED STATES OF AMERICA,                               Case No.: 12-CR-00213 AWI-BAM
13                   PLAINTIFF,
                                                             DEFENDANTS REQUEST AND
14                                                           WAIVER OF APPEARANCE;
                                                             ORDER
15
     CANDACE GONZALES                                        DATE: June 24, 2013
16                                                           Time: 1:00 p.m.
                                                             Courtroom 8
17
                             DEFENDANT.                      HONORABLE BARBARA A. McAULIFFE
18
19           Defendant, CANDACE GONZALES, hereby waives her appearance in person in open
20   court upon the status conference hearing set for Monday, June 24, 2013 at 1:00 p.m. in
21   Courtroom Eight of the above entitled court. Defendant hereby requests the court to proceed in
22   her absence and agrees that her interests will be deemed represented at said hearing by the
23   presence of her attorney, DAVID A. TORRES. Defendant further agrees to be present in person
24   in court at all future hearing dates set by the court including the dates for jury trial.
25
26   Date: June 20, 2013                                             /s/Candace Gonzales
                                                                     CANDACE GONZALES
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 1                                              ORDER
 2          Good cause appearing.
 3          IT IS HEREBY ORDERED that defendant CANDACE GONZALES is hereby excused
 4   from appearing at this court hearing scheduled for June 24, 2013 at 1:00 p.m.
 5         IT IS SO ORDERED.
 6      Dated:     June 20, 2013                        /s/ Barbara A. McAuliffe
     10c20k                                          UNITED STATES MAGISTRATE JUDGE
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